Case: 23-10362   Document: 270-2   Page: 1   Date Filed: 05/01/2023




                 EXHIBIT A
     Case: 23-10362    Document: 270-2   Page: 2   Date Filed: 05/01/2023


                               No. 23-10362
                UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT

 ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION
  OF PRO-LIFE OBSTETRICIANS AND GYNECOLOGISTS; AMERICAN
 COLLEGE OF PEDIATRICIANS; CHRISTIAN MEDICAL AND DENTAL
 ASSOCIATIONS; SHAUN JESTER, D.O.; REGINA FROST-CLARK, M.D.;
         TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,
                       Plaintiffs-Appellees,
                                 v.
U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, M.D., in
his official capacity as Commissioner of Food and Drugs; JANET WOODCOCK,
  M.D., in her official capacity as Principal Deputy Commissioner; PATRIZIA
    CAVAZONNI, M.D., in her official capacity as Director, Center for Drug
  Evaluation and Research; U.S. DEPARTMENT OF HEALTH AND HUMAN
SERVICES; and XAVIER BECERRA, in his official capacity as Secretary, U.S.
                     Department of Health and Human Services,
                              Defendants-Appellants,

                      DANCO LABORATORIES, LLC,
                          Intervenor-Appellant.

               On Appeal from the United States District Court
                     for the Northern District of Texas
                         Case No. 2:22-cv-00223-Z
           BRIEF OF FORMER COMMISSIONERS OF THE
    U.S. FOOD AND DRUG ADMINISTRATION AS AMICI CURIAE
            IN SUPPORT OF DEFENDANTS-APPELLANTS

                                         William B. Schultz
                                         Margaret M. Dotzel
                                         Alyssa M. Howard
                                         Zuckerman Spaeder LLP
                                         1800 M Street NW, Suite 1000
                                         Washington, D.C.
                                         (202) 778-1800
                                         wschultz@zuckerman.com

                                         Counsel for Amici Curiae
       Case: 23-10362      Document: 270-2      Page: 3   Date Filed: 05/01/2023


                 CERTIFICATE OF INTERESTED PERSONS

      In addition to the persons and entities listed in the Defendants-Appellants’

Certificate of Interested Persons, undersigned counsel of record certifies that the

following listed persons and entities as described in the fourth sentence of Rule

28.2.1 have an interest in the outcome of this case. These representations are made

in order that the judges of this court may evaluate possible disqualification or recusal.

Amici Curiae

      David A. Kessler, M.D.

      Jane E. Henney, M.D.

      Margaret Hamburg, M.D.

      Michael A. Friedman, M.D.

      Joshua M. Sharfstein, M.D.

      Stephen Ostroff, M.D.

      Norman E. “Ned” Sharpless, M.D.

Attorneys for Amici Curiae

      William B. Schultz
      Margaret M. Dotzel
      Alyssa M. Howard
      Zuckerman Spaeder LLP
      1800 M Street NW, Suite 1000
      Washington, D.C. 20036




                                            i
         Case: 23-10362             Document: 270-2             Page: 4        Date Filed: 05/01/2023


                                        TABLE OF CONTENTS
CERTIFICATE OF INTERESTED PERSONS..........................................................i

INTEREST OF AMICI CURIAE ................................................................................ 1

SUMMARY OF ARGUMENT .................................................................................. 2

BACKGROUND ........................................................................................................ 3

    A.       Congress Granted FDA Broad Authority to Review and
             Approve Drugs ............................................................................................ 3

             1. The Drug Approval Process ................................................................... 3

             2. The Authority to Restrict the Distribution of Drugs.............................. 8

    B.       After Careful Review Confirming the Safety and Effectiveness of
             Mifepristone, FDA Approved the Drug in 2000......................................... 9

    C.       FDA’s Subsequent Amendments to Mifepristone’s REMS Were Based
             on Its Comprehensive Consideration of Peer-Reviewed Data .................13

ARGUMENT............................................................................................................15

    A.       Under the Proper Standard of Review, Which Requires Deference to
             the Decisions of FDA’s Scientific Experts, FDA’s Decision Stands .......16

    B.       The District Court’s Erroneous Analysis Does Not Present Any Bases
             for Overturning the Sound Scientific Judgments of FDA. .......................21

    C.       Allowing the District Court’s Decision to Stand Would Upend FDA’s
             Drug Approval System and Harm Patients. ..............................................25

CONCLUSION ........................................................................................................28

CERTIFICATE OF SERVICE .................................................................................29

CERTIFICATE OF COMPLIANCE .......................................................................30




                                                           ii
         Case: 23-10362             Document: 270-2             Page: 5       Date Filed: 05/01/2023


                                     TABLE OF AUTHORITIES
Cases

Balt. Gas & Elec. Co. v. NRDC,
 462 U.S. 87 (1983) ................................................................................................17

Butte Cnty. v. Hogen,
 613 F.3d 190 (D.C. Cir. 2010) ..............................................................................16

Camp v. Pitts,
 411 U.S. 138 (1973) ........................................................................................17, 19

Dep’t of Commerce v. New York,
 139 S. Ct. 2551 (2019) ..........................................................................................16

F.C.C. v. Prometheus Radio Project,
  141 S. Ct. 1150 (2021) ....................................................................................16, 19

FDA v. Am. Coll. of Obstetricians & Gynecologists,
 141 S. Ct. 578 (2021) ............................................................................................18

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983) ................................................................................................17

Mutual Pharm. Co. v. Bartlett,
 570 U.S. 472 (2013)................................................................................................. 5

NRDC v. U.S. Nuclear Regul. Comm’n,
 823 F.3d 641 (D.C. Cir. 2016) ..............................................................................18

Pharm. Mfg. Research Servs., Inc. v. FDA,
 957 F.3d 254 (D.C. Cir. 2020) ..............................................................................18

Schering Corp. v. FDA,
  51 F.3d 390 (3d Cir. 1995) ....................................................................................18

Serono Labs., Inc. v. Shalala,
  158 F.3d 1313 (D.C. Cir. 1998) ......................................................................17, 18

Shrimpers & Fishermen of the RGV v. U.S. Army Corps of Engineers,
  56 F.4th 992 (5th Cir. 2023) ..................................................................................17


                                                          iii
          Case: 23-10362              Document: 270-2              Page: 6        Date Filed: 05/01/2023


Sierra Club v. EPA,
  939 F.3d 649 (5th Cir. 2019) .................................................................................17

United States v. Rutherford,
 442 U.S. 544 (1979) ...............................................................................................19

ViroPharma, Inc. v. Hamburg,
  898 F. Supp. 2d 1 (D.D.C. 2012) ..........................................................................18

Weinberger v. Hynson, Westcott & Dunning, Inc.,
 412 U.S. 609 (1973). ..............................................................................................24

Wyeth v. Levine,
 555 U.S. 555 (2009) ................................................................................................ 6

Zero Zone, Inc. v. U.S. Dep’t of Energy,
  832 F.3d 654 (7th Cir. 2016) ................................................................................18

Statutes

21 U.S.C. § 321 .......................................................................................................... 4

21 U.S.C. § 331 ........................................................................................................... 9

21 U.S.C. § 355 ......................................................................................4, 5, 6, 10, 14

21 U.S.C. § 355-1 ...................................................................................................8, 9

21 U.S.C. § 393 .......................................................................................................... 4

Drug Amendments of 1962, Pub. L. No. 87-781, § 102, 76 Stat. 780 ....................... 4

Federal Food, Drug, and Cosmetic Act,
  Pub. L. No. 75-717, 52 Stat. 1040 (1938) ............................................................... 3

Food and Drug Administration Amendments Act, Pub. L. No. 110-85,
 Tit. IX, 121 Stat. 823 ...........................................................................................8, 9

Regulations

21 C.F.R. § 201.56 ...................................................................................................... 4

21 C.F.R. § 201.57 ...................................................................................................... 4
                                                             iv
          Case: 23-10362             Document: 270-2              Page: 7        Date Filed: 05/01/2023


21 C.F.R. § 314.50 ..................................................................................................4, 5

21 C.F.R. § 314.70 ...................................................................................................... 6

21 C.F.R. § 314.80 ...................................................................................................... 6

21 C.F.R. § 314.105 .................................................................................................... 4

21 C.F.R. § 314.126 ..............................................................................................4, 11

21 C.F.R. Part 314.500, Subpart H ............................................................................. 8

Final Rule: New Drug, Antibiotic, and Biological Drug Product Regulations;
  Accelerated Approval, 57 Fed. Reg. 58,942 (Dec. 11, 1992) ................................. 8

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 for Industry, Draft Guidance, FDA (Sept. 2021) .................................................... 5

FDA Staff Manual Guides Vol. IV – Agency Program Directives – Scientific
 Dispute Resolution at FDA, SMG 9010.1, FDA (May 21, 2021) ........................... 7

Food and Drug Administration: Approval and Oversight of the Drug
 Mifeprex, GAO-08-751, Gov’t Accountability Office (Aug. 2008) .........10, 11, 12

Mifeprex® (mifepristone) tablets, for oral use, FDA (Jan. 2023) ...............................20

Mifepristone Approved, Gynuity Health Projects ....................................................11

Mifepristone U.S. Post-Marketing Adverse Events Summary through
 06/30/2022, FDA ...................................................................................................22

Research and Development in the Pharmaceutical Industry,
 Cong. Budget Office (Apr. 2021)..........................................................................27

REMS Single Shared System for Mifepristone 200 mg, FDA (Jan. 2023) ..................15

Scientific Integrity at FDA, FDA (Oct. 18, 2021) ...................................................... 7




                                                            v
       Case: 23-10362        Document: 270-2       Page: 8     Date Filed: 05/01/2023




                           INTEREST OF AMICI CURIAE1

       Amici served as commissioners and acting commissioners of the U.S. Food

and Drug Administration (FDA), and place a high value on the regulatory framework

that provides patients access to critical drugs and vaccines. The district court’s order

threatens to destroy the complex, evidence-based drug approval process that Amici

oversaw during their time leading the Agency. As experts in the drug approval

process, Amici are qualified to explain how the district court fundamentally

misunderstood the science of FDA’s approval and subsequent actions with respect

to mifepristone. Amici will also describe how the district court’s opinion, if allowed

to stand, would harm patients nationwide. Amici are:

               David A. Kessler, M.D., Commissioner (1990–1997)
               Jane E. Henney, M.D., Commissioner (1999–2001)
               Margaret Hamburg, M.D., Commissioner (2009–2015)
               Michael A. Friedman, M.D., Acting Commissioner (1997–1999)
               Joshua M. Sharfstein, M.D., Acting Commissioner (2009)
               Stephen Ostroff, M.D., Acting Commissioner (2015–2016, 2017)
               Norman E. “Ned” Sharpless, M.D., Acting Commissioner (2019)




1
 Pursuant to Federal Rule of Appellate Procedure 29, undersigned counsel for Amici certify that:
no party’s counsel authored this amicus brief in whole or in part; no party or party’s counsel
contributed money that was intended to fund preparing or submitting this amicus brief; and no
person or entity, other than Amici or their counsel, contributed money intended to fund the
preparation or submission of this amicus brief. All parties have consented to the filing of this
amicus brief in this litigation. This brief represents the views of the individual Amici and not
necessarily of their organizations.
                                               1
      Case: 23-10362     Document: 270-2     Page: 9    Date Filed: 05/01/2023




                         SUMMARY OF ARGUMENT

      For more than 60 years, Congress has entrusted FDA to ensure that

manufacturers have conducted studies that demonstrate that their new drugs are safe

and effective. Every drug approved by the Agency is the product of hundreds of

scientific judgments by a team of experts, which includes physicians, chemists,

biologists, pharmacologists, and statisticians. To determine whether a drug meets

the standard established by Congress, these experts typically must review a massive

quantity of data submitted by the sponsor of the New Drug Application (NDA),

including complex clinical studies. The Agency’s final decision regarding whether

to approve any drug results from this careful process—often occurring over a period

of years and always involving many scientific judgments by experts at the forefront

of public health.

      In reviewing an administrative agency’s action based on the agency’s

evaluation of scientific evidence, such as FDA drug approval decisions, courts have

emphasized that they will uphold the action as long as it is within a zone of

reasonableness and meets the standard of rationality required by the Administrative

Procedure Act. In this case, instead of reviewing FDA’s approval of mifepristone

and subsequent modifications to its conditions of use under this firmly established

standard, the district court substituted its own opinions about FDA’s evaluation of

the scientific data for the expert judgments of FDA clinicians and scientists, and on


                                         2
      Case: 23-10362     Document: 270-2      Page: 10    Date Filed: 05/01/2023




that basis overturned FDA’s approval of mifepristone. This unprecedented order

turns Congress’s desired regulatory scheme on its head and opens the door to

constant legal challenges of drug approvals. If allowed to stand, the district court’s

order would threaten the incentives for drug companies to undertake the time-

consuming and costly investment required to develop new drugs and provide

patients access to critical remedies that prevent suffering and save lives.

                                 BACKGROUND

      A.     Congress Granted FDA Broad Authority to Review and Approve
             Drugs.

      FDA is the expert agency that Congress has tasked with reviewing and

approving drugs according to established scientific principles. FDA reviewers

include doctors, pharmacologists, chemists, biologists, and statisticians—all with

advanced degrees in their respective disciplines—who review every aspect of an

NDA submitted by a sponsor. Through FDA’s consideration of each NDA, its

reviewers make hundreds of scientific judgments that lead the Agency to an ultimate

decision whether to approve or deny the application.

             1.     The Drug Approval Process

      In the Federal Food, Drug, and Cosmetic Act (FDCA) enacted in 1938,

Congress tasked FDA with determining that a new drug is safe before it can be

marketed. Pub. L. No. 75-717, 52 Stat. 1040 (1938) (codified as amended at 21

U.S.C. §§ 301–399i). In 1962, Congress further required that FDA ascertain a drug’s

                                          3
      Case: 23-10362     Document: 270-2      Page: 11    Date Filed: 05/01/2023




effectiveness before it is marketed. Drug Amendments of 1962, Pub. L. No. 87-781,

§ 102, 76 Stat. 780, 781–82 (codified as amended at various sections of 21 U.S.C.).

Thus, for more than 80 years, FDA has been responsible for reviewing applications

for new drugs before they may be sold. 21 U.S.C. §§ 321(p), 355, 393(b)(2)(B). In

order for a new drug to be approved, the FDCA directs FDA to determine whether

the sponsor’s application contains evidence demonstrating that the drug is safe and

effective for its intended use, based on “adequate and well-controlled

investigations.” 21 U.S.C. § 355(d); see 21 C.F.R. §§ 314.50, 314.105(c). FDA has

promulgated regulations that describe the requirements for clinical investigations

that meet the statutory standard and the labeling requirements for approved drugs.

See 21 C.F.R. §§ 201.56, 201.57, 314.50, 314.126.

      FDA requires drug sponsors to demonstrate the drug’s safety and efficacy

through rigorous scientific studies, including laboratory and pre-clinical testing as

well as three separate phases of clinical studies (with the later phase studies usually

averaging several thousand patients). Further, drug sponsors must demonstrate that

the methods used in, and the facilities used for, the manufacturing, processing, and

packaging of the drug are adequate to “preserve its identity, strength, quality, and

purity.” 21 U.S.C. § 355(d). FDA’s scientific and medical experts receive

information from and confer with the drug sponsor throughout the development and

approval process.

                                          4
      Case: 23-10362      Document: 270-2      Page: 12    Date Filed: 05/01/2023




      FDA imposes complex, rigorous standards in its review of NDAs. To pass

muster, an NDA must demonstrate that the drug is safe and effective for use under

the conditions prescribed, recommended, or suggested in the proposed labeling. Id.

§§ 355(b), (d)(1), (2), (4), (5); 21 C.F.R. § 314.50(a)(1). Because of the high statutory

standard, many NDAs are never approved.

      Congress requires that FDA conduct a careful risk-benefit analysis in

considering each NDA. 21 U.S.C. § 355(d)(7) (“The Secretary shall implement a

structured risk-benefit assessment framework in the new drug approval process to

facilitate the balanced consideration of benefits and risks, a consistent and systematic

approach to the discussion and regulatory decision-making, and the communication

of the benefits and risks of new drugs.”); see also Mutual Pharm. Co. v. Bartlett, 570

U.S. 472, 476 (2013) (“In order for the FDA to consider a drug safe, the drug’s

‘probable therapeutic benefits must outweigh its risk of harm.’”). The expertise of

FDA’s teams of reviewers is crucial to this rigorous review because all drugs have

some potential for adverse effects that could harm patients, and those risks must be

balanced against the benefits of promoting access to critical remedies. Accordingly,

the FDCA does not require a sponsor to demonstrate a complete absence of risk, but

rather that the drug’s benefits outweigh any risks it poses to patients. See Benefit-Risk

Assessment for New Drug and Biological Products, Guidance for Industry, Draft

Guidance, FDA, 3 (Sept. 2021), https://www.fda.gov/media/152544/download (last

                                           5
      Case: 23-10362        Document: 270-2        Page: 13     Date Filed: 05/01/2023




visited Apr. 30, 2023) (“Because all drugs can have adverse effects, the

demonstration of safety requires a showing that the benefits of the drug outweigh its

risks.”).

       Even after a drug is approved, the NDA sponsor is required to monitor its

safety and report adverse events to FDA. See 21 C.F.R. § 314.80. FDA regularly

evaluates these safety reports. After a product is approved and used by larger numbers

of people, its safety profile may change. Sometimes additional safety concerns are

uncovered, and FDA requires that a drug be withdrawn from the market. Sometimes

(as with mifepristone) the safety profile of the drug is improved.2

       Under the FDCA, there is no “study-match” requirement—that is, the

conditions and indications on a drug’s approved label are not required to be identical

to the conditions under which the drug was studied. Congress directed FDA to

evaluate drug safety based on “the information submitted . . . as part of the

application” and “any other information” before the Agency. 21 U.S.C. §

355(d)(4). No FDCA provision or FDA regulation requires that conditions on a drug’s

approved label match the precise protocols used in clinical trials or existing studies, and

FDA has never adopted such a limitation. Indeed, “[m]any clinical trial designs are



2
 Thus, the law places considerable responsibility on manufacturers to assure the safety of their
drugs. For example, when information about the safety of a drug becomes available, the
manufacturer may be required to add information to the drug’s label, which FDA’s regulations
permit without the Agency’s approval. See 21 C.F.R. § 314.70(c)(6)(iii)(A); Wyeth v. Levine, 555
U.S. 555 (2009).
                                               6
      Case: 23-10362      Document: 270-2        Page: 14   Date Filed: 05/01/2023




more restrictive . . . than will be necessary or recommended in post-approval clinical

use; this additional level of caution is exercised until the safety and efficacy of the

product is demonstrated.” Letter from Dr. Janet Woodcock to Dr. Donna J. Harrison

et al. (Mar. 29, 2016) (“2016 Petition Denial”), ROA.662. Consistent with scientific

best practices and medical ethics, conditions of use for approved drugs frequently differ

from clinical trial protocols. For example, although biopsies were required in clinical

trials for menopause hormonal therapy drugs to ensure patient safety, FDA approved

those drugs without mandated biopsies. Id.

      Each drug approval decision by the Agency entails hundreds of scientific

judgments by FDA reviewers. Of course, not every agency scientist will agree on all

issues, and in fact FDA has long facilitated robust scientific debate among its

experts.   See    Scientific   Integrity    at    FDA,      FDA    (Oct.   18,    2021),

https://www.fda.gov/science-research/about-science-research-fda/scientific-

integrity-fda (last visited Apr. 30, 2023). Accordingly, FDA also maintains

processes to resolve scientific disputes when they arise.3

      Industry members and consumers around the world regard FDA’s rigorous

review of NDAs as the “gold standard” in ensuring drug safety and efficacy. For this

reason, FDA’s approval of a new drug promotes its uptake and acceptance. Drug


3
  See FDA Staff Manual Guides Vol. IV – Agency Program Directives – Scientific Dispute
Resolution      at    FDA,       SMG      9010.1,       FDA        (May 21,     2021),
https://www.fda.gov/media/79659/download (last visited Apr. 30, 2023).
                                           7
      Case: 23-10362       Document: 270-2    Page: 15   Date Filed: 05/01/2023




companies look to the consistency, clarity, and predictability of FDA’s drug review

and approval processes to inform future investments in developing new drugs and

vaccines. See Br. of Pharmaceutical Companies, Executives, and Investors as Amici

Curiae in Support of Appellants’ Motion for Stay Pending Appeal (“Pharm. Amicus

Br.”) at 9, ECF No. 118.

             2.    The Authority to Restrict the Distribution of Drugs

      In 1992, FDA promulgated regulations under Subpart H for drugs intended to

treat “serious or life-threatening illnesses,” that “provide[d] meaningful therapeutic

benefit to patients over existing treatments.” 21 C.F.R. Part 314.500, Subpart H. The

Subpart H regulations did not allow new drugs to circumvent the requisite standards

for drug approval, including demonstrated safety and efficacy. See generally Final

Rule: New Drug, Antibiotic, and Biological Drug Product Regulations; Accelerated

Approval, 57 Fed. Reg. 58,942 (Dec. 11, 1992). Rather, for drugs that met the legal

requirements of the FDCA and other FDA regulations, Subpart H facilitated

accelerated approval under certain circumstances and authorized FDA to impose

conditions “needed to assure safe use,” including distribution restrictions. Id. at

58,958 (codified at 21 C.F.R. §§ 314.500, 314.520).

      In 2007, Congress ratified and expanded on Subpart H through the passage of

the Food and Drug Administration Amendments Act (FDAAA) of 2007. 21 U.S.C.

§ 355-1; see FDAAA, Pub. L. No. 110-85, Tit. IX, § 901, 121 Stat. 823. The FDAAA


                                          8
         Case: 23-10362        Document: 270-2        Page: 16     Date Filed: 05/01/2023




authorized the Agency to require a “risk evaluation and mitigation strategy” (REMS)

when it finds that restrictions on use are necessary to ensure that the benefits of a

drug outweigh the potential for adverse events—the standard that FDA applies to

every drug. Id. Under this provision, any conditions “needed to assure safe use”

established under Subpart H were automatically converted to a REMS with the same

restrictions. Id. § 909(b), 121 Stat. at 950-51 (21 U.S.C. § 331 note). Under the REMS

framework, FDA’s approval of any drug may include “elements to assure safe use,”

including regarding who can prescribe a particular drug and the clinical setting in

which a drug may be dispensed. 21 U.S.C. § 355-1(f)(3). When FDA determines that

new requirements are needed to assure safe use or that existing requirements are no

longer necessary, FDA may modify a drug’s approved REMS. Id. §§ 355-1(g), (h).

         B.      After Careful Review Confirming the Safety and Effectiveness of
                 Mifepristone, FDA Approved the Drug in 2000.

         More than twenty years ago—after an intensive review spanning more than

four years, at least 92 submissions by the drug sponsor, and a unanimous advisory

committee vote in favor of approval—FDA approved mifepristone in 2000 (under

the brand name Mifeprex®) as safe and effective to terminate pregnancy through the

first seven weeks of gestation.4 Letter from Center for Drug Evaluation and Research

(CDER) to Population Council (Sept. 28, 2000) (“2000 Approval”), ROA.591–98.



4
    Mifepristone is used with the drug misoprostol to terminate early pregnancy.

                                                  9
       Case: 23-10362         Document: 270-2        Page: 17      Date Filed: 05/01/2023




Pursuant to its authority under Subpart H, FDA placed certain restrictions on the

drug’s distribution, including a requirement that mifepristone be dispensed in person

by or under the supervision of a doctor with specified qualifications. 2000 Approval,

ROA.592.5

       Mifepristone’s approval was based on the statutory evidentiary standard and

was not accelerated. FDA scientific and medical experts comprehensively reviewed

the totality of scientific evidence and concluded that, with those distribution

restrictions in place, the benefits of mifepristone outweighed its risks. Id. In reaching

this conclusion, FDA performed an exhaustive review of large volumes of clinical

trial data across three rounds of review over the course of more than four years.6

Mifepristone’s approval was carried out using the same process Congress created

and FDA has been implementing since its inception. If anything, the external

pressure and sensitivity surrounding the approval of mifepristone resulted in FDA

taking particular care because the Agency knew that approval of mifepristone would




5
  The district court erred in finding that the 2000 Approval violated Subpart H. Contrary to the
court’s conclusions, FDA properly invoked Subpart H to implement restrictions on mifepristone’s
distribution, not to facilitate an accelerated approval process, which was not used for mifepristone.
FDA’s authority to approve mifepristone came from 21 U.S.C. § 355, not Subpart H. In any event,
for the reasons set forth in Defendants-Appellants’ Brief (“Def-App. Br.”) at 45, ECF No. 222,
even if FDA had erred in relying on Subpart H, that error has been cured because the FDAAA has
since superseded Subpart H.
6
 See generally Food and Drug Administration: Approval and Oversight of the Drug Mifeprex,
GAO-08-751, Gov’t Accountability Office (Aug. 2008) (“GAO 2008 Report”).

                                                10
       Case: 23-10362        Document: 270-2        Page: 18      Date Filed: 05/01/2023




face scrutiny.7 In 2008, the Government Accountability Office (GAO) confirmed

that FDA’s review and approval of mifepristone was consistent with the processes

for other Subpart H drugs, recognizing that the details of FDA’s approval depended

on the unique risks and benefits of each drug. GAO 2008 Report at 6.

       In its initial review, FDA compared the results of three mifepristone clinical

trials—two from France and one from the United States—to reliable, well-

documented data on pregnancy, including rates of miscarriage.8 Id. at 15–16. These

studies included over 4,000 patients across the different experiments. Id. In its

decision approving mifepristone, FDA relied on historically controlled clinical trials

because (1) pregnancy is well-studied and therefore “adequately documented,” and

(2) the effect of mifepristone—termination of an early-stage pregnancy—is “self-

evident.” Id. at 16 & n.31 (citing 21 C.F.R. § 314.126(b)(2)(v)). Moreover, it would




7
 FDA was correct to assume that its approval of mifepristone would be scrutinized. Immediately
after the 2000 Approval, several groups filed a citizen petition seeking reversal of the decision.
See, e.g., 2002 Citizen Petition of Am. Ass’n of Pro-Life Obstetricians & Gynecologists to FDA
(Aug. 20, 2002), ROA.635. In 2006, there was a Congressional hearing on the approval. See The
FDA and RU-486: Lowering the Standard for Women’s Health: Hearing Before the Subcomm. on
Crim. Just., Drug Pol’y, & Hum. Res. of the H. Comm. on Gov’t Reform, 109th Cong. 4 (2006),
ROA.313. In 2008, GAO issued the results of its comprehensive review of the 2000 Approval and
oversight of mifepristone concluding that there were no irregularities. See GAO 2008 Report.
8
  By the time FDA approved mifepristone in 2000, the drug had already been approved in many
other countries. Mifepristone had been approved in France, China, and the United Kingdom in the
late 1980s and early 1990s, and by 1999, nearly a dozen more countries had followed suit. Today,
mifepristone is available in at least 94 other countries. See Mifepristone Approved, Gynuity Health
Projects, https://gynuity.org/assets/resources/mapmifelist_en.pdf (last visited Apr. 30, 2023).

                                               11
      Case: 23-10362      Document: 270-2      Page: 19   Date Filed: 05/01/2023




have been unethical to give some patients seeking to terminate a pregnancy a

placebo.

      FDA also convened an advisory committee of reproductive health drug

experts to evaluate the data on mifepristone. Id. at 16-17. That committee voted six

to zero, with two abstentions, that the benefits of mifepristone outweigh its risks and

seven to zero, with one abstention, that mifepristone is safe. Id.

      As is often the case, FDA did not approve mifepristone after the sponsor’s

initial submission. Instead, FDA denied approval twice to solicit and evaluate

additional data and information from the drug sponsor. After completing those

evaluations, FDA concluded, based on its own comprehensive review of the data

and the advisory committee’s recommendations, that mifepristone was safe and

effective for use in terminating early-stage pregnancies subject to certain distribution

restrictions. See 2000 Approval, ROA.591–98.

      Following mifepristone’s approval, several groups petitioned FDA to reverse

its regulatory decisions and to withdraw mifepristone. See 2002 Citizen Petition of

Am. Ass’n of Pro-Life Obstetricians & Gynecologists to FDA (Aug. 20, 2002) (“2002

Citizen Petition”), ROA.403. Once again, FDA experts reviewed adverse event

reports and relevant data and concluded that there was no basis to find that

mifepristone’s potential safety concerns outweighed the benefits of keeping it on the

market. See 2016 Petition Denial, ROA.635–67.

                                          12
       Case: 23-10362     Document: 270-2       Page: 20    Date Filed: 05/01/2023




       C.    FDA’s Subsequent Amendments to Mifepristone’s REMS Were
             Based on Its Comprehensive Consideration of Peer-Reviewed Data.

       The subsequent modifications to mifepristone’s approved conditions of use

were also driven by a straightforward and thorough application of the expert

scientific review process that Congress entrusted to FDA. In March 2016, following

a comprehensive scientific review by multiple FDA scientific experts who examined

20 years of experience with mifepristone, guidelines from professional organizations

here and abroad, and clinical trials that have been published in the peer-reviewed

medical literature, FDA modified its approval of mifepristone in several ways.

Center for Drug Evaluation and Research, Summary Review of Application Number:

020687Orig1s020, FDA (March 29, 2016) (“2016 Summary Review”), ROA.698–

725.

       In reliance on safety and efficacy data from more than 20 studies, FDA increased

the gestational age limit from seven to ten weeks. 2016 Summary Review, ROA.713–

15. Relying on an additional dozen studies, FDA also reduced the number of required

in-person clinical visits from three to one. Id. And FDA modified the REMS to allow the

sponsors to distribute the drug to a broader set of healthcare providers, rather than only

physicians, to prescribe and dispense mifepristone. Id. at ROA.722–24. Finally, FDA

modified a prior requirement pursuant to which prescribers of mifepristone had to agree

to report certain adverse events such as hospitalizations and blood transfusions to the

drug’s sponsor. Id. at ROA.724. FDA concluded, based on “15 years of reporting,” that

                                           13
       Case: 23-10362        Document: 270-2        Page: 21      Date Filed: 05/01/2023




the requirement was no longer warranted and that, as with most other drugs, information

on non-fatal adverse events could instead be “collected in the periodic safety update

reports and annual reports” submitted by the drug’s sponsor to FDA. Id. at ROA.724.9

       Three years later, in 2019, FDA approved the application of GenBioPro, Inc.

to market a generic version of mifepristone upon FDA’s finding that the generic was

therapeutically equivalent to Mifeprex®. Letter from CDER to Danco Laboratories,

LLC (Apr. 11, 2019) (“2019 Approval”), ROA.775; see 21 U.S.C. § 355(j). The

same REMS applies to both versions of mifepristone. 2019 Approval, ROA.768–69.

       In 2021, during the COVID-19 pandemic public health emergency, after

conducting a thorough review of the relevant data, FDA exercised its enforcement

discretion with respect to the in-person dispensing requirement in mifepristone’s

REMS. FDA determined that the available data and information, including studies

regarding the use of telehealth, supported modification of the REMS to reduce the

burden on the health care delivery system and to ensure that the benefits of the

product outweighed its risks. See Letter from Dr. Patrizia A. Cavazzoni to Drs.

Donna J. Harrison & Quentin L. Van Meter (Dec. 16, 2021), ROA.807. Then,

following another thorough review by multiple scientists, Mifepristone’s REMS


9
  FDA also changed the approved dosing regimen—reducing the amount of mifepristone from 600
mg to 200 mg per dose, increasing the amount of misoprostol per dose, and directing the misoprostol
to the dissolved in the cheek pouch rather than taken orally. See Medical Review – Mifepristone,
FDA (Mar. 29, 2016) (“2016 Medical Review”), ROA.2148. Appellees have not challenged the
dosing regimen changes in this litigation, and the lower court did not suggest that they were
unlawful.
                                               14
         Case: 23-10362         Document: 270-2        Page: 22   Date Filed: 05/01/2023




were further amended on January 3, 2023 to remove the in-person dispensing

requirement. See REMS Single Shared System for Mifepristone 200 mg, FDA (Jan.

2023), https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2023_01

_03_REMS_Full.pdf (last visited Apr. 30, 2023).10

                                           ARGUMENT

          The district court’s order is fundamentally flawed. Because it misunderstood

its role, the district court erred as a matter of law. Instead of reviewing FDA’s

approval of mifepristone for reasonableness—as legally required—the district court

substituted its own opinion regarding the correctness of FDA’s scientific analysis

for the expert scientific judgments of FDA. Further, even if it were appropriate for a

district court to review FDA’s scientific decisions, the district court erred in its

evaluation of the science. The lower court’s analysis mischaracterized the record and

otherwise largely relied on studies or other information cited by Plaintiffs-Appellees

in their complaint and motion for preliminary injunction that were outside the record

and that on their face were scientifically unsound. The court did not engage with the

enormous record of evidence relied upon by FDA to approve and further regulate

mifepristone.

          The lower court’s order should be reversed. To endorse its erroneous holding

would upend decades of effective drug regulation—replacing Congress’s desired


10
     FDA’s 2023 action is not challenged in this litigation.
                                                  15
       Case: 23-10362         Document: 270-2         Page: 23      Date Filed: 05/01/2023




system directing FDA to weigh the risks and benefits of new drugs with a scheme

that would threaten patient access to safe and effective medications. The court’s

approach would also impede pharmaceutical innovation and undermine the

development of new drugs by allowing litigants to challenge any FDA drug or

vaccine approval at any time. This Court should reject Plaintiffs-Appellees’

invitation to destabilize the reasoned, scientific judgments of FDA.11

       A.      Under the Proper Standard of Review, Which Requires Deference
               to the Decisions of FDA’s Scientific Experts, FDA’s Decision
               Stands.

       The question before the district court should have been whether FDA’s actions

were arbitrary, capricious, or an abuse of discretion. See, e.g., Dep’t of Commerce v.

New York, 139 S. Ct. 2551, 2569 (2019); Butte Cnty. v. Hogen, 613 F.3d 190, 194

(D.C. Cir. 2010). Under this standard, courts are limited to ascertaining whether

agency decisions were “reasonable and reasonably explained.” F.C.C. v. Prometheus

Radio Project, 141 S. Ct. 1150, 1158 (2021). Accordingly, as long as “the agency

has acted within a zone of reasonableness,” the administrative action will be upheld.

Id.

       This standard of review reflects the well-established “narrow” role of the

courts in evaluating agency actions under the Administrative Procedure Act. Motor




11
  Plaintiffs-Appellees’ claims also fail for all the other reasons set forth in Defendants-Appellants’
Brief. See generally Def-App. Br.
                                                 16
      Case: 23-10362      Document: 270-2      Page: 24   Date Filed: 05/01/2023




Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983). Under this standard, “a court is not to substitute its judgment for that of the

agency.” Id. Rather, the court must “consider whether the decision was based on a

consideration of the relevant factors and whether there has been a clear error of

judgment.” Id. In making this determination, courts consider the record that was

before the agency at the time of its decision, not the record created for the purpose

of judicial review. See Camp v. Pitts, 411 U.S. 138, 142–43 (1973).

      A court “must be ‘most deferential’ to the agency where, as here, its decision

is based upon its evaluation of complex scientific data within its technical expertise.”

Shrimpers & Fishermen of the RGV v. U.S. Army Corps of Engineers, 56 F.4th 992,

1001 (5th Cir. 2023) (quoting Sierra Club v. EPA, 939 F.3d 649, 680 (5th Cir.

2019)). The reason for this deference is clear: Courts ensure agencies’ compliance

with the law, but they are ill-equipped to second-guess the technical judgments of

an agency within the scope of its subject-matter expertise. In other words, judges are

not “scientists independently capable of assessing the validity of the agency’s

determination.” Serono Labs., Inc. v. Shalala (Serono II), 158 F.3d 1313, 1320 (D.C.

Cir. 1998); see also Balt. Gas & Elec. Co. v. NRDC, 462 U.S. 87, 103 (1983); NRDC

v. U.S. Nuclear Regul. Comm’n, 823 F.3d 641, 649 (D.C. Cir. 2016); Zero Zone, Inc.

v. U.S. Dep’t of Energy, 832 F.3d 654, 668 (7th Cir. 2016).




                                          17
       Case: 23-10362     Document: 270-2       Page: 25    Date Filed: 05/01/2023




       Here, “judgments as to what is required to ascertain the safety and efficacy of

drugs fall squarely within the ambit of the FDA’s expertise and merit deference”

from reviewing courts. See Schering Corp. v. FDA, 51 F.3d 390, 399 (3d Cir. 1995);

see also FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578, 579,

2021    (Roberts, C.J., concurring) (“[C]ourts owe significant deference to the

politically accountable entities with the ‘background, competence, and expertise to

assess public health.’”); Pharm. Mfg. Research Servs., Inc. v. FDA, 957 F.3d 254,

262 (D.C. Cir. 2020).

       Serono II is instructive. 158 F.3d at 1327. In that case, the D.C. Circuit

rejected the district court’s reversal of FDA’s drug approval, explaining that, in

evaluating a technical decision of an agency based on scientific data, the court’s role

was limited to “holding [FDA] to the standards of rationality required by the

Administrative Procedure Act.” Id. Indeed, insofar as can be determined, no court

other than the district court here and the district court in Serono (which was reversed)

has ever overruled FDA’s approval of a drug. See, e.g., ViroPharma, Inc. v.

Hamburg, 898 F. Supp. 2d 1, 5, 28–29 (D.D.C. 2012) (citing Serono II, 158 F.3d at

1327) (“To the best of the parties’ and the Court’s knowledge, the extraordinary

relief that [plaintiff] seeks is unprecedented in this jurisdiction.”).

       Here, in granting the unprecedented relief sought by Plaintiffs-Appellees, the

lower court blatantly ignored the applicable standard of review. Instead of reviewing

                                           18
       Case: 23-10362        Document: 270-2         Page: 26     Date Filed: 05/01/2023




the reasonableness of FDA’s decisions in light of the record as it existed at the time

of FDA’s 2000 Approval and subsequent modifications to the prior conditions of

use, see Camp, 411 U.S. at 142–43, the district court substituted its own evaluation

of various scientific issues for FDA’s scientific judgments largely based on studies

cited by Plaintiffs-Appellees that were not in the administrative record.12 This is not

the correct inquiry under the law of the Supreme Court or any Circuit. See, e.g.,

Prometheus, 141 S. Ct. at 1158.

       When the proper standard of review is applied, FDA’s decision stands. As

explained above, in evaluating a new drug application, FDA was not charged by

Congress with determining whether the drug it is evaluating has no risks. Rather the

FDCA requires FDA to perform a risk-benefit analysis to weigh the drug’s risks

against its benefits to patients. See United States v. Rutherford, 442 U.S. 544, 555

(1979); 21 U.S.C. § 355(d). Based on numerous peer-reviewed, clinical studies and

more than 20 years of experience with mifepristone, FDA has found that serious

adverse events associated with the drug are “exceedingly rare.” Medical Review –

Mifepristone, FDA (Mar. 29, 2016) (“2016 Medical Review”), ROA.2189. For

example, mifepristone’s label indicates that the drug entails no greater than a 0.2% risk




12
  Many of the studies cited by Plaintiffs-Appellees and the district court did not even exist at the
time of FDA’s challenged actions. See, e.g., ROA.4353 n.44, 4359 n.55. And many of the studies
that did exist at the time of FDA’s challenged actions were not cited in either of the citizen
petitions.
                                                19
      Case: 23-10362      Document: 270-2       Page: 27      Date Filed: 05/01/2023




of hemorrhage and sepsis and a 0.7% risk of transfusions and hospitalization. See

Mifeprex®    (mifepristone)    tablets,   for   oral   use,     FDA,    8   (Jan.      2023)

https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/020687Orig1s026lbl.pdf

(last visited Apr. 30, 2023); see also 2016 Summary Review, ROA.708–709.

      To support its conclusion that mifepristone is unsafe, the district court cherry-

picked misleading quotations from the record. Upon examination, these assertions all

fall apart. For example, the district court stated that FDA issued its September 28, 2000

approval letter despite finding in February 2000 that the drug was unsafe and that the

Agency harbored “serious reservations” about the drug’s safety. ROA.4360. There is

no support for either of these statements in the record. Rather, as the context of the

February 2000 letter makes clear, FDA explained that, based on the available data at

that time, FDA would require the sponsor to amend the restrictions on mifepristone’s

distribution before its approval, and seven months later FDA concluded that

“adequate information has been presented to approve” mifepristone with those

restrictions. 2000 Approval, ROA.600.

      Further, the district court’s quotation about FDA’s purported “serious

reservations” actually came from the minutes of a July 1996 FDA advisory committee

meeting and reflected the opinion of a single individual who was not even an FDA

employee. See 2002 Citizen Petition, ROA.403 (citing FDA Advisory Committee,

Minutes of July 19, 1996 Meeting (approved July 23, 1996): at 7 [FDA FOIA Release:

                                           20
      Case: 23-10362       Document: 270-2       Page: 28   Date Filed: 05/01/2023




MIF 000539-451]). That opinion expressed during an open debate that occurred four

years before the actual approval and offered before the distribution restrictions were

considered is hardly evidence of “serious reservations” of even the individual who

offered the opinion, and certainly not of FDA, about the eventual course of action.

      B.     The District Court’s Erroneous Analysis Does Not Present Any
             Bases for Overturning the Sound Scientific Judgments of FDA.

      Even if it were appropriate for the district court to review the specific scientific

decisions made by FDA in connection with approving mifepristone rather than

reviewing the decision in its entirety to determine whether it satisfied judicial standards

of rationality in light of the court’s narrow role, the district court’s decision must be

reversed.

      FDA’s 2000 Approval of mifepristone, the 2016 modifications to its conditions

for use, the 2019 approval of the generic version, and the 2021 suspension of the

requirement for in-person dispensing were all the product of extensive reviews by FDA

experts of rigorous scientific studies. By contrast, the district court’s review of FDA’s

actions relied on a host of unsubstantiated studies outside the record considered by

FDA that would not have met FDA’s standards for valid scientific evidence,

mischaracterizations of FDA’s statements, and misguided lay analysis of scientific

data. These errors illustrate why Congress tasked FDA—not the courts—with

evaluating the safety and efficacy of drugs and highlight the risks of allowing judges

to second-guess FDA.

                                            21
      Case: 23-10362     Document: 270-2       Page: 29    Date Filed: 05/01/2023




      Adverse Reactions. The district court questioned FDA’s assessment of the

safety data before the Agency in 2000. ROA.4359. But the court offered no data to

contradict FDA’s findings on the infrequency of serious adverse events. Rather, the

district court relied largely on anecdotes from “myriad stories and studies brought to

the Court’s attention” that have never been presented to FDA and are contrary to

FDA’s findings. ROA.4358. The cited evidence does not rebut the rarity of serious

adverse effects demonstrated by the studies upon which FDA relied.

      Further, the district court repeatedly stated that the true rate of serious adverse

effects cannot be known because FDA removed the reporting requirement for

prescribers. See, e.g., ROA.4364. This is incorrect. As explained above, although

prescribers are no longer mandated to report non-fatal adverse events, the drug’s

sponsor is. This approach is consistent with FDA’s requirements for most drugs, and,

in any event, adverse events are still reported through periodic safety and annual

reports, pursuant to FDA regulations. Indeed, the district court cited data accumulated

from these reports. See ROA.4359 (citing Mifepristone U.S. Post-Marketing Adverse

Events           Summary               through            06/30/2022,               FDA,

https://www.fda.gov/media/164331/download).

      Psychological Considerations. The district court cited an unsubstantiated study

based on review of anonymous blog posts submitted to a website called Abortion

Changes You to support a finding that the use of mifepristone negatively impacts

                                          22
        Case: 23-10362     Document: 270-2       Page: 30    Date Filed: 05/01/2023




patients’ mental health. See ROA.4314, 4352. Even the study’s authors acknowledged

that “the population of women who write an anonymous post about their abortion

experience may be different from those who do not.” See Katherine A. Rafferty &

Tessa Longbons, #AbortionChangesYou: A Case Study to Understand the

Communicative Tensions in Women’s Medication Abortion Narratives, 36 Health

Comm. 1485, 1492 (2021), ROA.517. This is not the type of rigorous, controlled study

that FDA considers or should consider when evaluating the safety and efficacy of a

drug.

        Dating Pregnancy and Diagnosing Ectopic Pregnancy. The district court

also found that FDA’s deferral to medical providers on the appropriate method for

dating pregnancies and diagnosing ectopic pregnancies was arbitrary and capricious.

ROA.4357–65. But the court offered no substantiated data for this claim and instead

relied largely on anecdotal evidence based on the purported experiences of a few

pregnant patients among the more than five million patients who have taken

mifepristone in the United States since its approval. These stories do not call into

question FDA’s well-established, evidence-based finding that health care providers

are best positioned to make clinical decisions for their patients. The district court also

did not rebut FDA’s determination based on peer-reviewed studies that clinicians

rarely underestimate gestational age. See ROA.4358 (“Studies reflect that women

recurrently miscalculate their unborn child’s gestational age.”) (emphasis added).

                                            23
      Case: 23-10362      Document: 270-2       Page: 31    Date Filed: 05/01/2023




Nothing about FDA’s reliance on the professional judgment of healthcare providers

was unreasonable.

      Trial Conditions. The lower court found that FDA’s approval decisions were

flawed because the clinical trials cited by FDA in its 2000 Approval and 2016 changes

were performed under conditions that did not match those ultimately approved in

mifepristone’s conditions for use. ROA.4355. There is no legal or scientific basis for

such a requirement, and, as far as can be determined, FDA has never adopted—or even

considered adopting—such a requirement. As the court acknowledges, the FDCA

includes no provision imposing this “study-match” requirement. ROA.4356 n.48. To

the contrary, Congress granted FDA broad authority to “exercise [its] discretion or

subjective judgment in determining whether a study is adequate and well controlled.”

Weinberger v. Hynson, Westcott & Dunning, Inc., 412 U.S. 609, 621 n.17 (1973).

      Nor does the district court’s requirement have a scientific basis. FDA addressed

this issue at length in its response to the 2002 Citizen Petition, explaining that

“safeguards employed in clinical trials are often not reflected in approved drug product

labeling nor are they necessarily needed for the safe and effective use of the drug

product after approval.” 2016 Petition Denial, ROA.662. Instead, “this additional level

of caution is exercised until the safety and efficacy of the product is demonstrated.” Id.

Indeed, the conditions of use for many drugs differ from those used in the clinical trials

on which FDA relied in its approvals. For example, routine biopsies were performed

                                           24
      Case: 23-10362      Document: 270-2       Page: 32   Date Filed: 05/01/2023




in trials for menopause hormonal therapy drugs to establish their safety, but FDA

did not require biopsies in those drugs’ approved conditions of use. 2016 Petition

Denial, ROA.662.

      The court is also incorrect that the 2016 modifications were not studied before

they were implemented. Rather, as explained above, FDA relied on clinical trials

implementing each of the challenged modifications as well as 20 years of data

demonstrating the safety of mifepristone. 2016 Medical Review, ROA.2159, 2143–

2242. Again, the lower court does not offer any support for its conclusion that FDA

could only rely on a clinical trial that simultaneously implemented all of the conditions

of use that were ultimately approved.

      C.     Allowing the District Court’s Decision to Stand Would Upend
             FDA’s Drug Approval System and Harm Patients.

      The district court’s order flips Congress’s chosen scheme on its head—

subjecting scientific decisions by FDA’s expert doctors, pharmacologists, chemists,

biologists, and statisticians to being second-guessed by federal judges. Each drug

approval decision made by FDA is the product of hundreds of scientific judgments,

including analysis of clinical trial data, examination of experimental controls, and

interpretation of adverse event reports. Opening each of these judgments up to fresh

review by courts would supplant this rational, evidence-based drug regulatory

scheme with a chaotic patchwork susceptible to endless legal challenges and

inconsistent outcomes.

                                           25
      Case: 23-10362     Document: 270-2      Page: 33   Date Filed: 05/01/2023




      Adopting the district court’s approach to drug regulation would open the door

to the re-litigation of drug approvals by many interested parties. Drug companies

seeking to protect their investments and potential future profits could challenge the

approval of a competitor’s drug on the basis of their disagreement with one of the

many scientific judgments that go into each drug approval. After the denial of an

NDA, companies could also use the courts to seek reversal of FDA’s scientific

judgments. Interest groups that question the use of drugs for certain conditions could

sue to have their approval revoked or to require unnecessary restrictions to be

applied. Patients who experience rare adverse events could challenge FDA’s risk-

benefit analyses and attempt to bar access to safe and effective remedies for others

who need them.

      This new paradigm would take a significant toll on public health. Successful

litigation challenging drug approvals could threaten patient access to necessary

drugs and vaccines. It also adversely impacts healthcare providers who rely on FDA

approval when making critical treatment decisions. At the same time, drug

companies unhappy that FDA has denied their new drug applications could seek

court rulings that would allow the introduction of unsafe drugs into the market.

      Further, this new patchwork system for evaluating drug safety and efficacy

would chill crucial investment in pharmaceutical research and the development of

new medications. See generally Pharm. Amicus Br., ECF No. 118. As it is, drug

                                         26
      Case: 23-10362       Document: 270-2       Page: 34   Date Filed: 05/01/2023




development is a risky, cost-intensive proposition: Research and development costs

for each new drug can reach upwards of $2 billion, and only about 12% of drugs that

undergo clinical trials are ultimately approved.13 As a result of the lower court’s

approach, even the relatively few drugs that attain FDA approval would be

perpetually susceptible to legal challenges—discouraging companies from investing

in new life-saving remedies.

       If this Court upholds the order of the district court and upends the regulatory

framework designed by Congress that has produced essential drugs for more than 80

years, patients in need will ultimately bear the catastrophic consequences of the

resulting instability.




13
  See Research and Development in the Pharmaceutical Industry, Cong. Budget Office, 2 (Apr.
2021), https://www.cbo.gov/publication/57126 (last visited Apr. 30, 2023).
                                            27
      Case: 23-10362     Document: 270-2         Page: 35   Date Filed: 05/01/2023




                                  CONCLUSION

      For the foregoing reasons and those set forth in Defendants-Appellants’ Brief,

the district court’s order should be reversed.




Date: May 1, 2023                                Respectfully submitted,
                                                 /s/ William B. Schultz
                                                 William B. Schultz
                                                 Margaret M. Dotzel
                                                 Alyssa M. Howard
                                                 Zuckerman Spaeder LLP
                                                 1800 M Street NW, Suite 1000
                                                 Washington, D.C.
                                                 (202) 778-1800
                                                 wschultz@zuckerman.com

                                                 Counsel for Amici Curiae




                                          28
      Case: 23-10362    Document: 270-2      Page: 36   Date Filed: 05/01/2023




                         CERTIFICATE OF SERVICE

      I certify that on May 1, 2023, the foregoing Brief of Former Commissioners

of the U.S. Food and Drug Administration as Amici Curiae in Support of

Defendants-Appellants was filed electronically and has been served via the Court’s

ECF filing system in compliance with Rule 25(b) and (c) of the Federal Rules of

Appellate Procedure on all registered counsel of record.


                                                   /s/ William B. Schultz
                                                   Counsel for Amici Curiae




                                        29
      Case: 23-10362    Document: 270-2      Page: 37   Date Filed: 05/01/2023




                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 6,462 words, as counted by

Microsoft Word, excluding the parts of the brief excluded by Federal Rule of

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      I further certify that (1) any required privacy redactions have been made, 5th

Cir. R. 25.2.13; and (2) the electronic submission is an exact copy of the paper

document, 5th Cir. R. 25.2.1.


                                                   /s/ William B. Schultz
                                                   Counsel for Amici Curiae




                                        30
